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Kenneth L. Baum, Esq.
LAW OFFICES OF KENNETH L.
BAUM LLC
167 Main Street
Hackensack, New Jersey 07601
201-853-3030
201-584-0297 Facsimile
Attorneys for Defendant Educational
Credit Management Corporation

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAHUL MANCHANDA,                                  CIVIL ACTION NO. 1:19-cv-05121 (WHP)

                      Plaintiff,                                    Civil Action

        v.                                        DECLARATION OF KENNETH L. BAUM,
                                                    ESQ., IN SUPPORT OF MOTION OF
EDUCATIONAL CREDIT MANAGEMENT                            EDUCATIONAL CREDIT
CORPORATION,                                       MANAGEMENT CORPORATION FOR
                                                  SUMMARY JUDGMENT PURSUANT TO
                      Defendant.                             FED. R. CIV. P. 56




       KENNETH L. BAUM, ESQ., of full age, pursuant to 28 U.S.C. § 1746, hereby declares

under penalty of perjury as follows:

       1.      I am an attorney-at-law duly admitted to practice before this Court and a member

of Law Offices of Kenneth L. Baum LLC, attorneys for Defendant Educational Credit

Management Corporation (“ECMC”). I am familiar with the facts and circumstances set forth

herein and am authorized to make this Declaration in support of ECMC’s motion for summary

judgment pursuant to Fed. R. Civ. P. 56.

       2.      Attached as Exhibit A is a true copy of the transcript of the deposition of Mithun

Sarang conducted on March 16, 2021 (which is erroneously labeled as having been conducted on

March 20, 2021).
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       I hereby declare that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                    /s/ Kenneth L. Baum_____
                                                    KENNETH L. BAUM

DATED: May 25, 2021




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------X
   MANCHANDA
                               Plaintiff,


             -against-                       Index No.
                                             1:19-cv-05121


   EDUCATIONAL CREDIT MANAGEMENT CORPORATION,


                               Defendant.


   ---------------------------------------------X


                               Date: March 20, 2021
                               Time: 3:13 p.m.



             DEPOSITION of MITHUN SARANG, a Witness
   called on behalf of the Defendant, taken by
   the Plaintiff, recorded on the above mentioned
   date and time, requested by the Manchanda Law
   Office, PLLC, 30 Wall Street, New York, New
   York.




   Digitally recorded proceeding transcribed by:
   Kathleen Brosnan on behalf of Lexitas Court
   Reporting




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 1   A P P E A R A N C E S:
 2
 3   MANCHANDA LAW OFFICE, PLLC
           Attorney for Plaintiff
 4         30 Wall Street, Suite 8207
           New York, New York 10005
 5   BY:   RAHUL MANCHANDA, ESQ.
           JOHN FAZIO, ESQ, of Counsel
 6         OLGA TREITIAKOVA, Notary Public
 7
 8
     LAW OFFICE OF KENNETH L. BAUM, LLC
 9         Attorney for Defendant
           167 Main Street
10         Hackensack, New Jersey 07601
     BY:   KENNETH L. BAUM, ESQ.
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 1                 MS. TRETIAKOVA:       So I'm a
 2        Notary Public, Officer Olga
 3        Tretiakova.      My business address is
 4        20 West 64th Street, New York, New
 5        York 10023.      Pursuant to FRCP30.
 6        Today is March 16th, and right now is
 7        3:13 p.m..      We are at 30 Wall Street,
 8        Suite 8207, New York, New York 10005.
 9        The deponent, Mithun Sarang is an
10        employee of Education Credit
11        Management Corporation.         Please raise
12        your right hand.       Do you solemnly
13        swear that the testimony you are
14        about to give is the truth and
15        nothing but the truth.
16                 THE WITNESS:      Correct.
17                 MS. TRETIAKOVA:       Today,
18        present are attorneys for Plaintiff,
19        Rahul Manchanda, Defendant, Mithun
20        Sarang, employee of ECMC, and the
21        attorney for the Defendant, Kenneth
22        Baum, and Jeff, I'm sorry, I didn't
23        catch the name.
24                 MR. FAZIO:      John Fazio, of
25        Counsel to Manchanda Law Office.




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 1                  MS. TRETIAKOVA:       Okay.   So we
 2        can begin now.
 3                  MR. BAUM:    I just want to
 4        clarify, this is being done, Mr.
 5        Sarang is a former employee of
 6        ECMC --
 7                  THE WITNESS:     Yeah --
 8                  MR. BAUM:    But under the
 9        Judge's order, we're producing him
10        for ECMC.
11                  MR. MANCHANDA:       One speaker at
12        a time, please, Ken.
13                  MR. BAUM:    Yeah.     So again,
14        just to clarify for the record, Mr.
15        Sarang is a former employee of ECMC,
16        but as you know, we are producing him
17        through ECMC rather than having you
18        have to subpoena him.
19                  MR. MANCHANDA:       So we want to
20        clarify, you do not represent Mr.
21        Sarang.
22                  MR. BAUM:    No, I'm
23        representing him, but the whole idea
24        was to produce him through ECMC,
25        rather than you having to subpoena




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 1        him.     But he just to clarify, he's
 2        not a current employee of ECMC.
 3                  MR. MANCHANDA:      So you will be
 4        raising any and all issues regarding
 5        his representation as his counsel.
 6                  MR. BAUM:    For the purpose of
 7        this deposition, yes.
 8                  MR. MANCHANDA:      Okay.    That
 9        makes a big difference because if we
10        have an issue and I would like him to
11        answer a question, if you're not his
12        counsel, you can't raise that
13        objection.
14                  MR. BAUM:    Right.     Okay, go
15        ahead.
16                  MR. MANCHANDA:      So, you are
17        his counsel.
18                  MR. BAUM:    Yes, for today,
19        yes.
20                  MR. MANCHANDA:      All right.      We
21        will begin.      Thank you all for coming
22        today.
23   EXAMINATION BY
24   MR. MANCHANDA:
25        Q.        This is directed to Mithun




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 1                         M. SARANG
 2   Sarang; can you please state your full
 3   name, address, e-mail address and
 4   telephone number for the record, please?
 5                  MR. BAUM:    Before he speaks,
 6        he's not going to give his home
 7        address as per the court's order,
 8        it's going to be care of ECMC, okay?
 9                  MR. FAZIO:     That's fine.
10                  MR. BAUM:    Go ahead, sorry.
11        A.        All right.     So my full name is
12   Mithun Sarang, M-I-T-H-U-N, last name is,
13   S-A-R-A-N-G.     My e-mail address is,
14   T-U-N-E-S-A-R-A-N-G, @Gmail.com.           What
15   was the other additional information you
16   were requesting?
17        Q.        Your telephone number, please.
18        A.        It is 916-617-7773.
19        Q.        Thank you.
20                  Can you please state your
21   educational level, major field of study,
22   and any and all degrees obtained, as well
23   as the years of attendance for the
24   record, please?
25        A.        I am just a high school




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 1                           M. SARANG
 2   diploma, I have no college experience,
 3   and I have been in collections for eleven
 4   years.
 5           Q.     Where did you work before
 6   working for ECMC?
 7           A.     The -- Superlative RM.
 8           Q.     Superlative RM?
 9           A.     Correct.
10           Q.     What is that?
11           A.     It's a collection agency.
12           Q.     And how many years were you
13   there for?
14           A.     Seven.
15           Q.     Seven years?
16           A.     Correct.
17           Q.     And how long did you work for
18   ECMC?
19           A.     Four.
20           Q.     Four years, okay.
21                  And were you terminated from
22   ECMC or did you leave voluntarily?
23           A.     No, we were all laid off.
24   They relocated the building to Minnesota,
25   we were all working in California.




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 1                          M. SARANG
 2         Q.       Okay.
 3                  Were you trained for your job
 4   at ECMC?
 5         A.       Absolutely, very, very, very
 6   thoroughly trained.
 7         Q.       How long was the training for?
 8         A.       Three months.
 9         Q.       Three months.
10                  Was there a training manual?
11         A.       There was a training manual,
12   there is a training supervisor, there is
13   also exams that you needed to pass in
14   order to actually work at that time.
15         Q.       How many exams?
16         A.       There were two exams.
17         Q.       And how many accounts did you
18   manage, approximately?
19         A.       I don't have a specific
20   approximate answer.       There's thousands
21   and thousands of customers that we spoke
22   to throughout the four years that I was
23   employed there.
24         Q.       Thousands and thousands?
25         A.       Correct.




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 1                           M. SARANG
 2         Q.       And did you have a computer in
 3   front of you while you would call these
 4   people?
 5         A.       Absolutely.
 6         Q.       Every time?
 7         A.       Every time.
 8         Q.       Did you ever give any of them
 9   your personal cell phone number?
10         A.       Never.
11         Q.       Were all of those calls
12   recorded at ECMC?
13         A.       Absolutely.
14         Q.       And that computer that you
15   had, were there different tiers of, I
16   guess, clearance, or did everybody have
17   the same data?
18         A.       No, there were tiers of
19   clearance, supervisors had a higher
20   clearance than I did.
21         Q.       Okay.
22                  Did you have access to address
23   information at the time --
24         A.       Correct.
25         Q.       -- when you were speaking




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 1                          M. SARANG
 2   to --
 3           A.     Yes.
 4           Q.     -- whenever you were speaking
 5   to an individual?       Please wait for me to
 6   ask the question.
 7                  Did you always have the
 8   address information while you were
 9   speaking to one of your customers --
10           A.     Yes.
11           Q.     You did.
12                  And that address information,
13   did it have linear information, in other
14   words, previous, former and current
15   addresses or just one address?
16           A.     One address.
17           Q.     Did you have access and the
18   ability to look at previous addresses
19   online?
20           A.     Did I have access to look at
21   previous addresses online?
22           Q.     Yes.
23           A.     No.
24           Q.     So what you're say is, while
25   you would speak to the individual, you




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 1                          M. SARANG
 2   would only have one address facing you at
 3   the time?
 4         A.       Correct.
 5         Q.       And you did not have the
 6   ability to toggle and see previous
 7   addresses, is that what you're, remember,
 8   you're under oath?
 9         A.       I know that I'm under oath.
10   I'm just saying that when I'm looking at
11   the screen, there is a name and there is
12   an address, and then I have to verify his
13   name and his address.        There is not
14   multiple addresses under his other
15   address.    So there are not previous
16   addresses that are listed there.           I have
17   to say, her, I'm looking to speak with
18   Joel Smith, do you resides at 123 Apple
19   Street --
20         Q.       Please keep your answers to my
21   -- so, did you have the ability to
22   toggle --
23         A.       No.
24         Q.       -- you said you were trained
25   for three months, and the ability to go




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 1                          M. SARANG
 2   and check different addresses or
 3   different previous phone numbers when you
 4   were looking at the client?
 5         A.       No.
 6         Q.       No, okay.
 7                  So, you're saying that while
 8   you were speaking to, by the way, when
 9   you were updating because you I believe
10   asked questions about current addresses,
11   and you were correcting addresses on
12   tape, did you have the ability to amend
13   or change address information while you
14   were talking to the client?
15         A.       In the event that we had the
16   incorrect address and the customer
17   provided us with the current address,
18   then yes, we had to edit it, modify it to
19   the correct address.
20         Q.       So you had the power and the
21   ability to change address information?
22         A.       Correct, yes.
23         Q.       You had the power to change
24   and amend address, does that also apply
25   to telephone information?




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 1                          M. SARANG
 2           A.     Correct, any --
 3           Q.     Does it also, I'm sorry.
 4                  Does that also apply to e-mail
 5   information?
 6           A.     Yes.
 7           Q.     So you had the power to amend,
 8   and to change and to correct address,
 9   telephone and e-mail information of the
10   individual you were speaking with at the
11   time?
12           A.     Correct.
13           Q.     But you didn't have the
14   ability to see previous entries for that
15   information?
16           A.     For the third time, correct, I
17   did not have the ability to view previous
18   addresses or toggle.        I only had the
19   ability to modify in the event that they
20   provided us with current updated
21   information for their demographics.
22           Q.     When you were speaking to
23   clients, did you have anybody else
24   listening in on your calls or were you
25   always alone?




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 1                          M. SARANG
 2         A.       No, they were always
 3   monitoring the calls.        There is an entire
 4   department that monitored calls.           They
 5   were very compliant and under federal
 6   regulations.
 7         Q.       As they were happening or
 8   after the fact?
 9         A.       As they were happening and
10   after the fact.
11         Q.       So as they were happening, how
12   many individuals on average did you have
13   listening in to your phone calls?
14         A.       There was a department of, I
15   believe eight to ten individuals that
16   were constantly monitoring live calls and
17   calls after they already transpired.
18         Q.       I didn't ask you after, I
19   asked while the calls were taking place.
20         A.       Eight to ten.
21         Q.       Eight to ten while, okay, and
22   also after the fact, okay.         Thank you for
23   that answer.
24                  Did the other individuals, to
25   your knowledge, that were listening in or




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 1                          M. SARANG
 2   after the fact, did they have the ability
 3   to also see previous addresses, or
 4   e-mails or telephone number online, did
 5   they have different clearance levels?
 6         A.       I don't know their specific
 7   procedures or their protocol.          I don't
 8   know what their specific levels are.             I
 9   only know what my levels are.
10         Q.       In terms of level, which you
11   brought up, where would you rank yourself
12   between one and ten, ten being the
13   highest level in the company, one being
14   the lowest level, where would you place
15   yourself, approximately, in terms of
16   clearance and knowledge level?
17         A.       A four.
18         Q.       Four.
19                  And where would you place the
20   eight to ten individuals listening in to
21   your calls?
22         A.       A seven.
23         Q.       All seven?
24         A.       You indicated between a scale,
25   right?




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 1                          M. SARANG
 2         Q.        Who would you consider to the
 3   CEO, the owner or the boss of the ECMC
 4   corporation?
 5         A.        Who would I consider to the --
 6         Q.        At the time that you were
 7   working there?
 8         A.        Well, I had a supervisor, and
 9   then he had a supervisor, and then he had
10   a supervisor as well.         So I --
11         Q.        I said of the company itself.
12         A.        Of the company itself.
13         Q.        A full ten.
14         A.        Am I giving names?        I really
15   don't feel comfortable giving his name --
16         Q.        It's a question about a CEO,
17   it's not anything security wise.            I don't
18   see your attorney raising the issue.
19   We're not asking --
20                   MR. BAUM:     Are you asking what
21         the name of the CEO was at the time
22         he worked there?
23                   MR. MANCHANDA:     Yes.
24                   MR. BAUM:     If you know it,
25         answer.




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 1                          M. SARANG
 2         A.       Okay.    Len Hyde.
 3         Q.       I'm sorry?
 4         A.       His name was Len Hyde.
 5         Q.       Len Hyde?
 6         A.       Correct.
 7         Q.       Can you spell that, please?
 8         A.       L-E-N, last name, H-Y-D-E.
 9         Q.       And he was the CEO?
10         A.       I believe he was our CEO for
11   our specific, our specific location for
12   California.
13         Q.       Are you familiar with
14   Corinthian Colleges?
15         A.       I am not.
16         Q.       Are you familiar with ECMC's
17   role with the Corinthian College?
18         A.       I am not.
19         Q.       Are you familiar that there
20   are, have been allegations that ECMC is
21   engaged in non-profit activity with
22   Corinthian Colleges?
23         A.       I have no clue about that, in
24   any way, shape or form.
25         Q.       Is it your opinion that ECMC




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 1                          M. SARANG
 2   is a non-profit organization?
 3         A.       Say it again.
 4         Q.       Is it your opinion that ECMC
 5   is a non-profit organization?
 6         A.       Yes, in my opinion, correct.
 7         Q.       Your previous employer, what
 8   the name of it again?
 9         A.       Superlative RM.
10         Q.       Was that a for-profit
11   collection agency or a non-profit
12   collection agency?
13         A.       It was a for-profit collection
14   agency.
15         Q.       What were the predominant,
16   what the nature of the debt that you
17   would collect at your previous
18   employment?
19         A.       I mean, I don't really see the
20   relevance in reference to the question --
21         Q.       Let me decide what the
22   relevance is.      You have to answer the
23   question.
24                  MR. BAUM:     Restate the
25         question.




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 1                          M. SARANG
 2           A.     It's a collection agency.         So
 3   ultimately, we collect on everything from
 4   pay day loans, to credit cards, to, you
 5   know, jewelry shop, whatever that
 6   actually falls under collections.
 7           Q.     Clearly, not student loan
 8   debt?
 9           A.     Correct, not student loan
10   debt, correct.
11           Q.     Which has always protections
12   under the HEA Higher Education Act and,
13   you know, that's protected and sort of
14   takes, you know, would take,
15   theoretically, ECMC out of the purview of
16   being a debt collector under the Fair
17   Debt Collection Practices Act?
18           A.     Correct, but the Fair Debt
19   Collection Practices Act doesn't cover in
20   reference --
21           Q.     I'm sorry, he left the
22   meeting, where did he go, okay.
23                  So in other words, you're
24   training, your training prior to your
25   joining ECMC was for the purposes of




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 1                          M. SARANG
 2   private debt collection of pay day loans,
 3   what other type of debt?
 4         A.       Credit cards.
 5         Q.       And private debt, which would
 6   be covered under the Fair Debt Collection
 7   Practices Act?
 8         A.       Correct.
 9         Q.       Okay.
10                  Were you trained by ECMC with
11   the Fair Debt Collection Practices Act,
12   were you trained in that?
13                  MR. BAUM:     I'm going to
14         object, you can answer if you could
15         understand the question.
16         Q.       Did ECMC in the training
17   sessions that you already admitted to,
18   tell you what the Fair Debt Collection
19   Practices Act was?
20         A.       The Fair Debt Collection
21   Practices Act aren't regulated under
22   student loans, so they had no training
23   reference to FDCPA.
24         Q.       So you made a smooth
25   transition from a for-private debt




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 1                          M. SARANG
 2   collection company to a student loan debt
 3   collection company?
 4         A.       Absolutely, the transition due
 5   to the fact that I had to pass the test
 6   in order to make sure that I cleared the
 7   transitions.      ECMC is one of the most
 8   complaint --
 9         Q.       You've answer the question.
10         A.       -- companies out there --
11         Q.       You can stop now.       I'm done
12   with the question.       You've answered my
13   question, which means that you weren't
14   taught about the difference, which is
15   what I wanted to know.
16                  Mr. Sarang, are you a U.S.
17   citizen, green card holder or some
18   immigration status?
19                  MR. BAUM:     I'm going to object
20         as to relevance.
21                  MR. MANCHANDA:      It's relevant
22         in the sense that we'd like to know
23         if ECMC took advantage of his
24         immigration status to force him to do
25         things that were illegal.




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 1                          M. SARANG
 2                  THE WITNESS:      Why would you
 3         make an assumption that I'm an
 4         immigrant?
 5                  MR. BAUM:     I'm going to object
 6         as to relevance, it has absolutely no
 7         relevance whatsoever.
 8                  MR. MANCHANDA:      It is
 9         absolutely relevance.
10                  MR. BAUM:     I disagree.
11                  THE WITNESS:      I disagree as
12         well.    It's absolutely irrelevant.
13                  MR. MANCHANDA:      I'll tell you
14         why it's relevant, we feel that ECMC
15         exploited possibly Mr. Sarang --
16                  THE WITNESS:      Not at all in
17         any way, shape or form.
18                  MR. MANCHANDA:      -- and his
19         position.     And if he has no choice in
20         the matter because of his immigration
21         status, then he would be more likely
22         than not to commit ethical or legal
23         violations.
24                  MR. BAUM:     I'm going to object
25         that that's a complete --




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 1                          M. SARANG
 2                  MR. MANCHANDA:      Okay, we'll
 3         move on.
 4                  MR. BAUM:     -- not even
 5         speculation.      It's a fishing
 6         expedition and I'm objecting.
 7                  MR. MANCHANDA:      Fine, we'll
 8         move on.
 9                  THE WITNESS:      I'm a citizen,
10         hey, I'm a citizen.
11                  MR. BAUM:     Mithun, it's all
12         right.
13                  MR. MANCHANDA:      He will not
14         answer the question.
15                  THE WITNESS:      I just answered
16         the question, by the way, I'm a
17         citizen.
18         Q.       I didn't hear what you said,
19   I'm sorry?
20         A.       I am a citizen of the United
21   States of America.
22         Q.       Were you born --
23         A.       I was born here in Sacramento,
24   California.
25         Q.       Thank you for answering the




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 1                          M. SARANG
 2   question.
 3         A.        Absolutely.
 4         Q.        And if you could please hold
 5   back on the hostility, that would be
 6   great.
 7                   MR. BAUM:     I'm going to
 8         object.     He's answering your
 9         questions.
10                   MR. MANCHANDA:     He's
11         approaching the camera in a
12         threatening manner, which I don't
13         appreciate.
14                   MR. BAUM:     Oh, move on.
15                   MR. MANCHANDA:     If it was in
16         person, it would be a criminal act.
17         So let's refrain from that kind of
18         behavior.
19                   MR. BAUM:     Are you going to
20         ask a question?
21                   MR. MANCHANDA:     Yes, as long
22         as we can behave ourselves.          I said
23         use no threatening mannerisms.
24                   MR. BAUM:     Who is threatening
25         you --




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 1                          M. SARANG
 2                  THE WITNESS:      I'm over a
 3         phone --
 4                  MR. MANCHANDA:      When you
 5         approach the camera in your face --
 6                  THE WITNESS:      You're
 7         approaching the camera right now.
 8                  MR. MANCHANDA:      I'm
 9         demonstrating what you just did.
10                  THE WITNESS:      So you're
11         absolutely in the same offense right
12         now that you're indicating --
13                  MR. MANCHANDA:      Moving on --
14                  MR. BAUM:     Let's move on.
15         Q.       Mr. Sarang, how old are you
16   and when if your date of birth?
17         A.       My age, I'm thirty-four, my
18   date of birth is March 24th, '86.
19         Q.       1986?
20         A.       Correct.
21         Q.       Again, how did you come to be
22   employed by ECMC and when did you
23   commence?
24         A.       It was -- through a friend,
25   and I don't have the specific date.




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 1                          M. SARANG
 2   You're speaking about something that
 3   happened about four or five years ago.
 4           Q.     Do you have an approximate
 5   date of your commencement?
 6           A.     No.
 7           Q.     How about a year?
 8           A.     How about a year?       Four years
 9   ago, so what, what year are we in now?
10   '21, so, 2017.
11           Q.     Were you ever promoted at
12   ECMC?
13           A.     No.
14           Q.     In four years, you were never
15   promoted in ECMC?
16           A.     No.
17           Q.     What was your job title at
18   ECMC?
19           A.     I was an account
20   representative.
21           Q.     And what was the same job
22   description for the entire four years?
23           A.     Correct.
24           Q.     Did your salary change at all
25   while you were at ECMC?




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 1                          M. SARANG
 2         A.       No.
 3         Q.       Were you on a salary or on a
 4   commission basis at ECMC?
 5         A.       Salary and commission.
 6         Q.       Salary and commission?
 7         A.       Correct.
 8         Q.       Did you have bonuses at ECMC?
 9         A.       Yeah, that's correct.        It's
10   commission and bonuses are the same thing
11   in my eyes, so.
12         Q.       How would you define a
13   commission at ECMC?
14         A.       There was a tier level in the
15   amount of however many student loans that
16   you collected, accumulative of the amount
17   in the event that surpassed a certain
18   tier, you were given a specific
19   percentile of that amount.
20         Q.       Were they all accounts that
21   were in default or those were regular
22   accounts?
23         A.       Correct, they were all
24   accounts in default.        I would see any
25   other account unless in the event that it




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 1                          M. SARANG
 2   actually defaulted.
 3         Q.       So you only worked with
 4   defaulted accounts?
 5         A.       Correct, defaulted student
 6   loans.
 7         Q.       And every single one of them,
 8   you were sure had notice of the default?
 9         A.       I'm sorry, say that again.
10         Q.       Every single person that you
11   dealt with, you were certain that they
12   had actual notice of a default?
13         A.       Certain that they had actual
14   notice of a default?        It's our job to
15   provide them with the default as soon as
16   the account gets to the office.
17         Q.       That's not answering my
18   question.
19                  My question to you is this,
20   and I'll rephrase it; were you certain
21   that every single individual that you
22   dealt with had been duly served with
23   notice of default on their student loan?
24         A.       Yes.
25         Q.       So you're saying under oath




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 1                          M. SARANG
 2   that you were certain that every single
 3   person that you dealt with was duly
 4   served, or maybe they weren't served with
 5   a notice of default?
 6                  MR. BAUM:     Objection to form.
 7                  MR. MANCHANDA:      Okay.
 8         Q.       So you're saying under oath
 9   here, under penalty of perjury, seven
10   years, that you were sure that every
11   single person that you dealt with was
12   served with notice that they defaulted on
13   their student loan, be careful with your
14   answer, sir?
15                  MR. BAUM:     Objection.     Stop
16         badgering the witness and let him
17         answer the question.
18                  MR. MANCHANDA:      Okay.    He gave
19         different answers, I want to clarify
20         for his benefit, and mine and yours.
21         A.       Okay.    So, as our job, before
22   the account even comes to my desk, they
23   send a letter to the student letting them
24   know that, hey, you're currently in
25   default.    In the event that that student




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 1                          M. SARANG
 2   opens that documentation or sees it,
 3   that's beyond me.       But we have to provide
 4   them that documentation.         So for you to
 5   indicate that am I sure that they
 6   received it to every specific individual,
 7   I can't honestly say yeah, that I'm sure
 8   that they opened it, but we are positive
 9   that we sent the documentation out.
10         Q.        Okay, good.     That's what I
11   wanted to know.
12                   So the answer is no, you are
13   not sure that every single individual
14   that you spoke with had notice of default
15   on their student loan.         Thank you for
16   honesty.
17                   MR. BAUM:     That's not what he
18         said.     That's not what he said but
19         the record will speak for itself.
20                   MR. MANCHANDA:     I'm sorry, Mr.
21         Baum?
22                   MR. BAUM:     That's not what he
23         said but the record will speak for
24         itself.
25                   MR. MANCHANDA:     Well, that's




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 1                          M. SARANG
 2         good because the first time he
 3         answered the question, he said he was
 4         certain.     So, you know, it's right
 5         there.     Again, I find that hard to
 6         believe and that's why I pressed the
 7         issue.
 8                  MR. BAUM:     All right.       Next
 9         question.
10                  MR. MANCHANDA:       But whether or
11         not we consider that perjurious or
12         not is a different story.
13                  MR. BAUM:     Stop badgering him
14         and just ask a question.
15                  MR. MANCHANDA:       I'm not
16         badgering anybody, I'm speaking to
17         you.
18                  MR. BAUM:     And your out of
19         line.    Ask questions.       It's a
20         deposition, it's not a court hearing.
21                  MR. MANCHANDA:       I'm sorry?
22                  MR. BAUM:     It's a deposition,
23         not a court hearing.         There's no jury
24         here.
25                  MR. MANCHANDA:       Right.     And




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 1                          M. SARANG
 2         that means he has to answer every
 3         question.
 4                  MR. BAUM:     And he answered.
 5                  MR. MANCHANDA:      You can't
 6         object to things because he still has
 7         to answer.
 8                  MR. BAUM:     I can object, I can
 9         direct him to answer.
10                  MR. MANCHANDA:      You don't have
11         any grounds.
12                  MR. BAUM:     I object and then I
13         directed him to answer.
14                  MR. MANCHANDA:      Why, by
15         helping him clarify his answers that
16         he --
17                  MR. BAUM:     No, I object to the
18         form of the question.        This is what
19         happens in a deposition.         You object
20         to the form of the question and then
21         the witness answers it.
22                  MR. MANCHANDA:      I don't want
23         to argue with you.        Let me just
24         finish my deposition so we can get
25         out of here.




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 1                           M. SARANG
 2         Q.       Again, were you given a
 3   training manual at ECMC, Mr. Sarang?
 4                  MR. BAUM:     Objection.     Asked
 5         answer answered.
 6         A.       Yeah, I don't know why you
 7   keep asking the same questions in
 8   different sentences.
 9         Q.       Somebody --
10         A.       You literally asked me the
11   same questions in three different
12   instances, I've given you the same
13   response.     Yes, I've been trained --
14         Q.       Were you ever disciplined at
15   ECMC for any reason?
16         A.       No.
17         Q.       You were never disciplined?
18         A.       Never.     There you go, you can
19   keep continuously asking the same
20   question.
21                  MR. BAUM:     Just answer the
22         question.
23         Q.       How much was the percentage
24   that you would received in bonuses and
25   commissions, the exact percentage for a




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 1                          M. SARANG
 2   successful enrollment of an individual
 3   into your rehabilitation program, was it
 4   a set amount percentage?
 5         A.       There is a structure, there is
 6   a commission structure.         You had to make
 7   sure that you collected a certain amount
 8   of student loans in order for you to
 9   actually be in that tier, so there is
10   different tiers.
11         Q.       What were the tiers, can you
12   define those, please?
13         A.       I don't have tiers.        You're
14   talking about something that happened
15   four or five years ago.         I'm in a whole
16   other job now.
17         Q.       Can you define what a tier is?
18         A.       Yeah, so a tier one, you know,
19   if you collected a mediocre amount.            A
20   tier two, if you collected a decent
21   amount.     A tier three, if you had a great
22   month.     It's just like a cars salesman,
23   you sell two cars, you get this, you sell
24   four cars, you get that, do you know what
25   I mean?     It's the same instance.




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 1                          M. SARANG
 2         Q.       So you would describe your job
 3   as being like a used car salesman?
 4         A.       No, not at all --
 5                  MR. BAUM:     Objection.
 6         Q.       So, what you're saying is that
 7   there were different levels of percentage
 8   commission based on your success rate of
 9   ensnaring individuals into your
10   rehabilitation program?
11                  MR. BAUM:     Objection.
12         Q.       How much were you paid while
13   employed at ECMC salary wise both
14   initially and when you left employment?
15         A.       I have no idea.       You're
16   talking about something that happened
17   four years.
18         Q.       You don't remember your
19   approximate salary both initially and
20   when you left ECMC, your base --
21         A.       Between three thousand to
22   thirty-five hundred, somewhere around
23   that range.
24         Q.       A week, month, year?
25         A.       Monthly.




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 1                           M. SARANG
 2           Q.     Were you paid as a contractor
 3   or as an employee?
 4           A.     As an employee.
 5           Q.     Did you get W-2's or a 1099?
 6           A.     W-2's.
 7           Q.     Which state were you working
 8   out of?
 9           A.     California.
10           Q.     And the headquarters was
11   located where?
12           A.     Minnesota.
13           Q.     How many other individuals
14   were in your unit in California?
15           A.     In my unit or the, in my
16   particular unit, there are twelve
17   individuals.
18           Q.     In the California branch of
19   ECMC?
20           A.     No, that's in my unit.         So
21   there were approximately probably, not
22   approximately because I don't know how
23   many approximate, but it was probably
24   around fifty employees.
25           Q.     In California?




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 1                          M. SARANG
 2           A.     In California.
 3           Q.     And what city in California?
 4           A.     Sacramento.
 5           Q.     Did you interview for the job
 6   at ECMC?
 7           A.     Yes.
 8           Q.     Because earlier, you had said
 9   that your friend had brought you in?
10           A.     Yeah, my friend referred me
11   but I had to go through the interview
12   process, and everything else, the
13   training, everything that I had to do.
14   He just knew that I would be a great fit
15   for that job, so.
16           Q.     How many times were you
17   interviewed for the job?
18           A.     Twice, it was a two stage
19   interview process.
20           Q.     On the same day or different
21   days?
22           A.     Different days.
23           Q.     By the same individual or
24   different individuals?
25           A.     Different individuals.




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 1                          M. SARANG
 2         Q.       While you were at ECMC, who
 3   were your immediate supervisors in a
 4   linear chain from lowest to highest,
 5   their names, please?
 6         A.       Norman Miranda, Rodney Ebonez
 7   and Len Hyde.
 8         Q.       While you were working for
 9   ECMC, who was your immediate subordinates
10   in a linear chain from highest to lowest?
11         A.       From highest, Len Hyde, Rodney
12   Ebonez and Norman Miranda --
13         Q.       No, no, no, who were beneath
14   you, immediate subordinates, not --
15         A.       You're talking about just
16   co-workers?
17         Q.       No, no, let me rephrase it.
18         A.       There are no people beneath
19   me, let's say that.
20         Q.       There were no people beneath
21   you, no subordinates?
22         A.       No.
23         Q.       You didn't have any
24   administrative personnel, coffee getters,
25   secretaries?




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 1                          M. SARANG
 2           A.     No.
 3           Q.     No clerks?
 4           A.     There are not beneath me, they
 5   are beside me.
 6           Q.     Subordinate employees, I'm
 7   making a value judgement here, I'm asking
 8   you in terms of corporate structure
 9   hierarchy --
10           A.     Yeah.
11           Q.     -- who were your immediate
12   subordinates, highest level closest to
13   you all the way to the lowest?
14           A.     Well, you got to realize
15   there's two hundred employees --
16           Q.     That would report to you, in
17   other words, did you have anybody
18   reporting to you?
19           A.     No one reported to me, no.
20           Q.     No one reported to you?
21           A.     No.
22                  MR. BAUM:     Asked and answered.
23           Q.     How many borrowers did you
24   speak to on average per day on behalf of
25   ECMC?




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 1                          M. SARANG
 2         A.       On average -- maybe twelve to
 3   fifteen.
 4         Q.       How many hours, days of
 5   employment at ECMC during the week?
 6         A.       Forty hours a week.
 7         Q.       Every day?
 8         A.       Forty hours a week, which is
 9   eight hours a day.
10         Q.       Monday through Friday or
11   including Saturdays and Sundays?
12         A.       Yes, Monday through Friday.
13         Q.       What were your hours of
14   employment?
15         A.       Ten to seven.
16         Q.       Ten a.m. to seven p.m., and
17   that's California standard time?
18         A.       That's correct.
19         Q.       Did you ever call anybody
20   after those hours?
21         A.       No.
22         Q.       Did you ever call anybody
23   before those hours?
24         A.       Possibly, yes, sometimes we
25   had holiday schedules where they would




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 1                           M. SARANG
 2   allow us to work from eight a.m. to five
 3   p.m..        And in those days, I may have
 4   called somebody between that eight a.m.
 5   to ten p.m. shift.
 6           Q.        So there is a possibility that
 7   you called people after or before your
 8   shift?
 9           A.        Yeah, in the event that it was
10   a holiday and they changed our schedule.
11   So we had three different units, the
12   first unit worked from eight to five, the
13   second unit worked from nine to six and
14   the third unit worked from ten to seven.
15   I was a part of the third unit that
16   worked ten to seven.        But in the event
17   that there was a holiday and they wanted
18   everybody to get out at the same time, we
19   would all work eight to five.
20           Q.        Mr. Sarang, what time would it
21   be in New York if it's seven o'clock p.m.
22   in California?
23           A.        Ten o'clock p.m., New York.
24           Q.        Ten o'clock p.m.
25                     And you said you would




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 1                          M. SARANG
 2   sometimes call people after seven o'clock
 3   Sacramento time?
 4           A.     After seven p.m., no, we would
 5   not be allowed to do so.
 6           Q.     Who would not allow you to do
 7   so?
 8           A.     The phone system would not
 9   make the call automatically due to the
10   fact that in the event that the area code
11   was over the times zone, we don't have
12   the ability to call after that specific
13   timeframe, the system would automatically
14   shut it down.      And we would leave work at
15   seven p.m. anyways.
16           Q.     Are you aware that calling
17   anybody on a collection matter after nine
18   o'clock is against federal law?
19           A.     I am.
20           Q.     Can you explain how you know
21   that?
22           A.     Because I used to train the
23   Fair Debt Collection Practices Act.
24           Q.     Mr. Sarang, do you know where
25   I was living or residing when you called




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 1                          M. SARANG
 2   me?
 3         A.       You were, I'm under the
 4   assumption that you were in the State of
 5   New York.
 6         Q.       Correct.
 7                  And how many hours is that
 8   difference from California?
 9         A.       It's a three hour time
10   difference.
11         Q.       So if you called me at say,
12   6:30 or seven, what time would it be in
13   New York?
14         A.       If I called you at seven, it
15   would be ten.      If I called you at 6:30,
16   it would be 9:30.
17         Q.       Which would be against federal
18   law, correct?
19         A.       Correct.
20         Q.       Okay.
21                  Mr. Sarang, I'm going to ask
22   directly, you have the computer in front
23   of you at the time that you called me,
24   did you know I Plaintiff Rahul
25   Manchanda's current home and work address




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 1                          M. SARANG
 2   at the time you called him in April of
 3   2017?
 4           A.     I'm sorry, say that again.
 5           Q.     Did you know Plaintiff Rahul
 6   Manchanda's current home and work address
 7   at the time you called him in April of
 8   2017?
 9           A.     I believe that I have the work
10   address that's automatically populated
11   into the screen.       I don't believe that I
12   have the work address.
13           Q.     Are you aware that you, ECMC
14   and you would send correspondence to both
15   work and home address?
16           A.     I'm aware of the home address,
17   not the work address.
18           Q.     Would ECMC and would you
19   regularly keep both a work address and a
20   home address on that computer screen?
21           A.     No, not regularly, just the
22   home address.
23           Q.     When you say regularly, it did
24   occur that you would have work and home
25   addresses, correct?




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 1                          M. SARANG
 2         A.       It could've been a possibility
 3   in the event that the customer provided
 4   us that information.
 5         Q.       And the same for cell phone
 6   numbers or telephone numbers?
 7         A.       Correct.
 8         Q.       So the next question is
 9   similar, did you know Plaintiff Rahul
10   Manchanda's current home and work
11   telephone numbers at the time you called
12   him in April of 2017?
13         A.       They only provide us with the
14   home number, I don't know about the work
15   number.
16         Q.       And similarly, did you know
17   Plaintiff Rahul Manchanda's current home
18   and work e-mail address at the time you
19   called him in April of 2017?
20         A.       Home e-mail, not work e-mail.
21         Q.       Okay.
22                  Did you know Plaintiff Rahul
23   Manchanda's former home and work address
24   at the time you called him April of 2017?
25         A.       No, you asked that question




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 1                          M. SARANG
 2   again.
 3         Q.       You know you were recorded in
 4   April of 2017, right?
 5         A.       That's fine.      Like I
 6   indicated, I don't have anything to worry
 7   about because I didn't do anything
 8   wrong --
 9         Q.       And did you listen to that
10   recording, Mr. Sarang?
11         A.       No, I have not.
12         Q.       You have not listened to your
13   own recording of you calling me in April
14   of 2017?
15         A.       No, I have not.
16         Q.       Okay.    Thank you, that's
17   helpful.
18                  Did you know Plaintiff Rahul
19   Manchanda's former home and work e-mail
20   address at the time you called him April
21   of 2017?
22                  MR. BAUM:     Asked and answered.
23                  MR. MANCHANDA:      Former, I
24         didn't ask, no, this is former,
25         before was current.




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 1                          M. SARANG
 2           A.     No.
 3                  MR. BAUM:     So what would've
 4           been former as of 2017.
 5                  MR. MANCHANDA:      Same question.
 6           Q.     Okay.    Last question in this
 7   vein.
 8                  Did you know Plaintiff Rahul
 9   Manchanda's former home and work
10   telephone numbers at the time you called
11   him in April of 2017?
12           A.     No.
13           Q.     And again, you have not
14   listened to your recordings, okay.
15                  Next question -- Mr. Sarang,
16   why did you not mention at all during
17   your phone call with Plaintiff Rahul
18   Manchanda that he had apparently missed
19   his, quote, sixty day right to cure, the
20   quote, notice of default supposedly sent
21   to Plaintiff Rahul Manchanda at his old
22   former address, 82 Beaver Street,
23   apartment 301, New York, New York 10004,
24   supposedly sent by ECMC on or about
25   February 7, 2017?




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 1                          M. SARANG
 2                  MR. BAUM:     Objection to the
 3         form of the question.
 4         Q.       Did you hear my question --
 5                  MR. BAUM:     I'm objecting to
 6         the form.
 7                  MR. MANCHANDA:      I'll rephrase
 8         the question.
 9         Q.       Did you hear my question, Mr.
10   Sarang?
11         A.       Yes, I did.
12         Q.       Do you want me to rephrase it
13   for you?
14         A.       Yes, please.
15         Q.       Okay.
16                  Mr. Sarang, why did you not
17   mention at all during the recording or
18   during the phone call on April of 2017
19   that Plaintiff Rahul Manchanda had
20   apparently missed his, quote, sixty day
21   right to cure letter, which was the
22   notice of default letter, supposedly sent
23   to me Mr. Manchanda at his old former
24   address of 82 Beaver Street, New York,
25   New York on or about February 7, 2017 by




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 1                           M. SARANG
 2   ECMC?
 3                  MR. BAUM:     I'm just going to
 4           object in that it assumes a fact he
 5           has not testified to but you can
 6           answer it.
 7                  MR. MANCHANDA:       I mean we can
 8           put the document in as an exhibit.
 9           It's the recording -- we'd like to
10           enter that Exhibit A.
11                  MR. BAUM:     Your question was,
12           why didn't he mention it and he
13           hasn't testified about mentioning or
14           not mentioning.
15                  MR. MANCHANDA:       It's your
16           exhibit.     If you want to admit it as
17           A --
18                  MR. BAUM:     I don't have an
19           exhibit, this is your deposition.
20                  MR. MANCHANDA:       The sound
21           recording you provided that we would
22           like to enter in as Exhibit A, which
23           was the recording in April 2017,
24           okay, which is his voice.       So we
25           would like to enter, if you're going




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 1                          M. SARANG
 2         to object to that, we're going to
 3         enter it as evidence.
 4                  MR. BAUM:     No, you're
 5         misconstruing what I said.          What I
 6         said is that your question began with
 7         the words, why didn't you mention,
 8         and I'm saying you're assuming a fact
 9         when you ask the question that way.
10                  MR. MANCHANDA:      We have a
11         recording of it.
12                  MR. BAUM:     Why don't you ask
13         him first whether he mentioned or
14         not.
15                  MR. MANCHANDA:      He did mention
16         it.    It's a fact, it's an exhibit.
17         It is what it is.       It exists.      It's
18         your exhibit, it's your document
19         recording, my friend.        So, I don't
20         have to ask him, I don't have to lay
21         a foundation because we have a
22         recording of him doing that.
23                  MR. BAUM:     But he hasn't
24         listened to hit.
25                  MR. MANCHANDA:      I'll rephrase




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 1                          M. SARANG
 2         it for you for your benefit, in the
 3         spirit of, you know, cooperation,
 4         okay?    Even though it's a recording.
 5         You can't argue your way out of that.
 6         Q.       Mr. Sarang, referring to the
 7   recording that was provided by ECMC
 8   counsel, Ken Baum of you speaking to
 9   Plaintiff Rahul Manchanda in April of
10   2017, which has now been admitted as
11   Exhibit A in this deposition, why did you
12   not mention the sixty day right to cure
13   notice of default at all in your
14   conversation?
15                  MR. BAUM:     I have the same
16         objection but you can answer it.
17         A.       I haven't listened to the
18   recording, so I do not recall in the
19   event that I said it or not.          Once again,
20   you're talking about something that
21   happened four to five years ago.
22         Q.       Okay.    So the question, I'll
23   rephrase it and make it even simpler.
24                  Why didn't you mention the
25   sixty day notice of default in your




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 1                           M. SARANG
 2   conversation?
 3           A.        Well, it's already passed the
 4   sixty day notice of default after it gets
 5   to my desk.        So you're already past that
 6   stage.
 7           Q.        But you had already added a
 8   collections cost to make it one sixty-one
 9   thousand when it was the original one
10   hundred and eighteen thousand?
11           A.        I personally didn't add
12   anything.        So let's rephrase that right
13   now, all right?        Before it gets to my
14   desk, collection costs are already added
15   to the account before it even comes to my
16   desk.        That's what happens whenever you
17   default.        So, we're trained and we have
18   specific policies, that's why I know for
19   a fact that I haven't done anything or
20   misrepresented you in any way, shape or
21   form because we are that compliant.
22   There are that many people, that many
23   ears and that many eyes looking at this,
24   that at the end of the day, it doesn't
25   even come to my desk unless it's past




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 1                          M. SARANG
 2   that sixty day stage.         So if you --
 3         Q.        Mr. Sarang --
 4         A.        -- hold on.     I'm answering
 5   your question.
 6                   MR. BAUM:     Let him speak --
 7                   MR. MANCHANDA:     No, no,
 8         this --
 9                   MR. BAUM:     No, no, no, he's
10         answering your question.
11                   MR. MANCHANDA:     This is my
12         deposition.
13                   MR. BAUM:     And he gets to
14         answer your question.
15                   THE WITNESS:     Exactly.
16                   MR. MANCHANDA:     He's going on
17         and this is irrelevant.
18                   THE WITNESS:     And you're
19         continuing going on as well for
20         things that make no sense, no
21         relevance in any way, shape or form.
22         You've asked the same question three
23         different times and three different
24         instances.
25                   MR. MANCHANDA:     Right.     To




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 1                          M. SARANG
 2         make it simpler for you.
 3         Q.       So, you're admitting or you're
 4   saying, and you have, you don't know why
 5   you did that, that's fine for me, that's
 6   fine with me.      We'll move on.
 7                  MR. BAUM:     Next question.
 8         Q.       Mr. Sarang, when Plaintiff
 9   Rahul Manchanda repeatedly questioned the
10   dollar amount that you were throwing
11   around of approximately one sixty-one
12   thousand, and correcting you by telling
13   you it was one hundred thousand or one
14   hundred and eighteen thousand, why did
15   you not address or answer that question?
16                  MR. BAUM:     Objection to
17         foundation.      You can answer.
18                  MR. MANCHANDA:      It's in the
19         recording, it's Exhibit A.
20                  MR. BAUM:     I'm just objecting
21         and he can answering.
22                  MR. MANCHANDA:      It's your
23         exhibit.
24         A.       You keep talking about this
25   exhibit and this recording, I have not




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 1                          M. SARANG
 2   heard the recording.
 3         Q.       Maybe you should.
 4         A.       You're absolutely correct.
 5         Q.       I'm surprised that ECMC didn't
 6   give it to you --
 7                  MR. BAUM:     You can answer the
 8         question.
 9         Q.       -- because in my opinion,
10   they're throwing you under the bus.            It's
11   all there, I'm not making this up.            This
12   is real.    And you know, I would like to
13   remind you of the consequences for
14   knowingly giving testimony that's
15   inaccurate in this deposition.
16                  MR. BAUM:     Objection.     You're
17         harassing him.       Ask him a question
18         and stop harassing him.
19         A.       I don't even feel comfortable
20   continuing this because I, in any way,
21   shape or form have done nothing wrong.               I
22   was an employee, I was trained.           These
23   are the procedures and these are the
24   policies.     So in the event that you have
25   any issues with the people that make the




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 1                          M. SARANG
 2   policies and actually provide the
 3   training, then that's something that you
 4   want to be able to take up with them.
 5   I've already been so kind and courteous
 6   to give you an hour of my time to truly
 7   try to assist you in whatever is actually
 8   transpiring.      But at the end of the day,
 9   I will disconnect this call, I will go
10   about my day and you guys can do whatever
11   you please.     Because at the end of the
12   day, it plays no relevance to me.           I did
13   nothing wrong in any way, shape or form.
14   In the event that I need to seek counsel,
15   then I will do so.       But I can assure you
16   that I've done nothing in any way, shape
17   or form.    I'm doing this as a courtesy
18   because ECMC was very kind to me, and
19   they were a good company and they've done
20   nothing wrong.      In the event that you
21   defaulted and you put yourself in this
22   position, Rahul, that's completely up to
23   you.   If you're trying to find a loophole
24   to get out of it, that's whatever.            But
25   at the end of the day, I've done nothing




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 1                          M. SARANG
 2   wrong.     That's all I got to say.
 3         Q.       You're done.      I have to move
 4   on.
 5         A.       I'm done with this
 6   conversation.      You guys have a great --
 7                  MR. BAUM:     Hold on.     Let's
 8         move on to the next question, okay?
 9                  MR. MANCHANDA:      That's what
10         I'm trying to do.
11                  MR. BAUM:     Just stick to
12         questions, no editorializing.           Just
13         ask him questions.
14                  MR. MANCHANDA:      We understand
15         that you're angry and that --
16                  MR. BAUM:     Can you just ask
17         him a question?
18         Q.       Mr. Sarang, why did you ask
19   the Plaintiff Rahul Manchanda if he had
20   ever visited California or why you wanted
21   to visit New York so badly while
22   Plaintiff Rahul Manchanda was asking why
23   loan amount was so high?
24                  MR. BAUM:     I'm going to object
25         to foundation.       You can answer.




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 1                          M. SARANG
 2                  MR. MANCHANDA:      Okay.
 3                  MR. BAUM:     You can answer.
 4         A.       I was looking to make
 5   conversation, just trying to build a
 6   rapport.
 7         Q.       Mr. Sarang, Plaintiff Rahul
 8   Manchanda was trying to ask you why you
 9   were quoting, in his mind, an inaccurate
10   loan amount of one sixty-one thousand
11   when his opinion, it was one hundred to
12   one hundred and eighteen thousand, but
13   you answered his question with, had he
14   ever visited California or how much you
15   wanted to visit New York so badly, why
16   did you do that an not answer the
17   question?
18         A.       I don't recall.
19         Q.       So, do you normally try to
20   make commentary, to use your words or to
21   strike a rapport with your borrowers when
22   they are questioning the dollar amount
23   that you are trying to get him to enroll
24   in your rehabilitation program for or do
25   you answer their questions because these




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 1                          M. SARANG
 2   are important questions as a collection
 3   or as a party that is trying to enroll
 4   people in a rehabilitation programs, it's
 5   a very important question.
 6                  So, is that normal for you to
 7   just strike a rapport and ignore their
 8   question or do you answer it?
 9         A.       I would typically answer the
10   question and in the event that I was able
11   to listen to the recording, I'm pretty
12   sure that I did answer your question.            I
13   don't recall due to the fact that it
14   happened four years ago.
15         Q.       Okay.
16         A.       You got to realize that I talk
17   to twelve people a day for the whole
18   entire year.      So to remember one
19   conversation --
20         Q.       I understand how tough it is
21   to talk to people but there are rules,
22   Mr. Sarang.
23         A.       Absolutely --
24                  MR. BAUM:     Is there a
25         question?




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 1                          M. SARANG
 2         Q.       Mr. Sarang, why did you
 3   constantly ask Plaintiff Rahul Manchanda
 4   about his ethnic heritage while Plaintiff
 5   Rahul Manchanda was asking you why his
 6   loan amount was so much higher than he
 7   thought it was?
 8         A.       Once again --
 9                  MR. BAUM:     Objection to
10         foundation.      You can answer.
11         A.       Building a rapport, once
12   again.
13         Q.       Mr. Sarang, why did you
14   constantly volunteer that you had, quote,
15   unquote, Indian ethnic heritage while
16   Plaintiff Rahul Manchanda was asking you
17   why his loan amount was so much higher
18   than he thought it was?
19                  MR. BAUM:     Objection to
20         foundation.      You can answer.
21         A.       Once again, building a
22   rapport.
23         Q.       Building a rapport is more
24   important than answering a question about
25   his loan amount?




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 1                          M. SARANG
 2                  MR. BAUM:     Asked and answered.
 3         Q.       I believe I asked you this
 4   question earlier but it's a slight
 5   difference, if it's a similar question,
 6   then you can please excuse me.          These
 7   questions were prewritten and I apologize
 8   to that.
 9                  Mr. Sarang, was someone else
10   listening in while you were on the phone
11   with Plaintiff Rahul Manchanda in April
12   of 2017?
13                  MR. BAUM:     Asked and answered.
14         A.       Asked answer answered.
15         Q.       If yes, who was that and what
16   was their position at ECMC?
17         A.       Say it again.
18         Q.       If yes, somebody was listening
19   while you were on the phone with
20   Plaintiff Rahul Manchanda in April of
21   2017, what was their position, who were
22   they and what was their position at ECMC?
23         A.       I don't know, they were the
24   compliance department.        They were
25   individuals that were in the compliance




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 1                           M. SARANG
 2   department.
 3          Q.      You don't know their names?
 4          A.      No, I don't have their names,
 5   no.
 6          Q.      You don't know their
 7   positions?
 8          A.      No, I don't know, they are
 9   compliance officers in the compliance
10   department and they didn't provide us
11   with any of their names.
12          Q.      Did you ever meet any of them?
13          A.      No.
14          Q.      You never met any of the --
15          A.      No.
16          Q.      -- listeners?
17          A.      Never.
18          Q.      You never shared any tidbits
19   of information, like bag that Gordon
20   Gekko today or something like that?
21          A.      No.
22          Q.      Locker room talk kind of thing
23   about how you made a lot of money that
24   day?
25          A.      No.




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 1                           M. SARANG
 2         Q.       Never?
 3         A.       No.
 4         Q.       Did you ever have that kind of
 5   talk at your previous employment as a
 6   debt collector --
 7         A.       No.
 8         Q.       -- about how much money you
 9   made that day with any of your fellow
10   employees?
11         A.       No.
12         Q.       Was there also a bonus or
13   commission basis at your previous
14   employer --
15         A.       No.
16         Q.       -- what was the name of it?
17         A.       Superlative RM.
18         Q.       Was there a bonus or
19   commission basis compensation at that
20   company?
21         A.       No, salaried employee.
22         Q.       Salary employee?
23         A.       Correct.
24         Q.       So you weren't rewarded with
25   how many debts you collected on a tier




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 1                          M. SARANG
 2   system like you described now?
 3         A.       Nope, I was a manager at that
 4   specific position and I was under a
 5   salary structure.
 6         Q.       Okay.
 7                  Mr. Sarang, why did you
 8   constantly mispronounce plaintiff's loan
 9   guarantor relatives, and family members
10   and finance's name while spelling them
11   out if you were truly Indian and respect
12   your Indian heritage, why did you
13   mispronounce and sort of make fun and
14   laugh at the pronunciation of Plaintiff
15   Rahul Manchanda's relative's names,
16   Indian names, and his fiance's name, why
17   did you do that?
18                  MR. BAUM:     Objection to no
19         foundation.      You can answer.
20                  MR. MANCHANDA:      It's your
21         exhibit, Exhibit A, it's a
22         recording --
23                  MR. BAUM:     I said he can
24         answer, I said he can answer, I said
25         he can answer.




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 1                          M. SARANG
 2          A.      First of all, A, I would never
 3   make fun.     And in the event that I
 4   mispronounced it, I can put a name on the
 5   board right now and I'm pretty sure that
 6   you're going to mispronounce it as well.
 7   It's just one of those things where in
 8   the event that I was, you know, wasn't
 9   able to pronounce it correctly, then it's
10   just one of those things that I wasn't
11   able to pronounce it correctly.           It's not
12   like I was intentionally doing it or
13   trying to intentionally make fun or
14   anything of that nature.         I was literally
15   trying to build a rapport because I am of
16   the Indian descent.        So that's all it
17   was.
18          Q.      When you say you're of Indian
19   descent, where is that, is that from
20   India, Guyana, Trinidad, Fiji, where
21   exactly is that origin?
22          A.      Why is this relevant --
23                  MR. BAUM:     Objection.     Come
24          on.
25                  MR. MANCHANDA:      He opened the




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 1                          M. SARANG
 2           door, so I'm going to ask the
 3           question.
 4                   MR. BAUM:    No, he told you why
 5           he asked about it, you're not going
 6           to go into his personal history.
 7                   MR. MANCHANDA:      Because he's
 8           not of Indian descent, I differ with
 9           that opinion and he was making fun of
10           my ethnic heritage.
11           A.      You're indicating that I'm not
12   of the Indian descent?
13           Q.      Where is your Indian descent,
14   is it Guyana, India --
15                   MR. BAUM:    Objection.
16           A.      It's Gujarati.
17           Q.      Gujarati?
18           A.      Yes, I speak it as well.        If
19   you would like me to speak, if that would
20   be --
21           Q.      Is that your parent's
22   generation --
23                   MR. BAUM:    I'm objecting to
24           this.   Don't answer.      Move on to a
25           relevant question.




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 1                          M. SARANG
 2                  MR. MANCHANDA:      The relevance
 3         has do with, you know, poking fun at
 4         his borrower's ethnic --
 5                  THE WITNESS:      No one was
 6         poking fun.
 7                  MR. BAUM:     Move on, next
 8         question.
 9                  MR. MANCHANDA:      He doesn't
10         have authentic Indian heritage
11         apparently because he's saying --
12                  MR. BAUM:     Next question.
13                  MR. MANCHANDA:      Because he's
14         making fun of the names and
15         spellings.     We'll move on.
16         Q.       Mr. Sarang, did you ever while
17   speaking or looking through Plaintiff
18   Rahul Manchanda's account, did you ever
19   see his former 82 Beaver Street,
20   apartment 301, New York, New York address
21   on your computer screen?
22         A.       I don't recall.
23         Q.       While speaking to Plaintiff
24   Rahul Manchanda on April of 2017?
25         A.       I don't recall, it happened




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 1                          M. SARANG
 2   four years ago, once again.
 3           Q.     Why did you ask Plaintiff
 4   Rahul Manchanda to constantly verify his
 5   current address in April of 2017?
 6           A.     It's for verification
 7   purposes, to make sure we are speaking
 8   with the correct party.
 9           Q.     Do you remember the address
10   that you recounted to Plaintiff Rahul
11   Manchanda on the phone call?
12           A.     No.
13           Q.     Do you remember the telephone
14   number that you recounted to Plaintiff
15   during that April of 2017 phone call?
16           A.     No.
17           Q.     Do you remember the e-mail
18   address --
19           A.     No.
20           Q.     -- that you recounted to the
21   Plaintiff Rahul Manchanda during that
22   call.
23                  Mr. Sarang, why did you ask
24   Plaintiff Rahul Manchanda to, quote,
25   DocuSign your, quote, rehabilitation




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 1                          M. SARANG
 2   contract twice in one evening within
 3   fifteen to twenty minutes of each call?
 4                  MR. BAUM:     Objection to
 5         foundation.      You can answer.
 6         A.       I don't recall.
 7         Q.       Mr. Sarang, to remind you
 8   according to Exhibit A submitted by ECMC,
 9   the recordings, you called Plaintiff
10   Rahul Manchanda more than once within a
11   fifteen to twenty minute period.
12                  So you agree to that, accept
13   that, do you remember that?
14         A.       I don't recall that.
15         Q.       Do you want me to refresh your
16   memory?
17         A.       I don't see how you're going
18   to refresh my memory when something
19   happened four years ago.
20         Q.       Refer to Exhibit A.
21                  So my question again is, why
22   did you ask Plaintiff to DocuSign your
23   rehab contract twice in one evening
24   within fifteen minutes of each call?
25         A.       I comprehend, and register and




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 1                          M. SARANG
 2   understand very well.        I just told you
 3   that I do not recall.
 4          Q.      Mr. Sarang, what was the
 5   difference between the first DocuSign and
 6   the second DocuSign contracts?
 7          A.      I don't remember.
 8          Q.      You don't remember the
 9   difference between the two DocuSign
10   contracts that you asked me to sign?
11          A.      No, not at all.
12          Q.      Mr. Sarang, how often did it
13   happen that you would ask your borrowers
14   to resign a DocuSign contract in the same
15   day?
16          A.      How often?
17          Q.      Yes.
18          A.      That's something else that I
19   don't recall.
20          Q.      Mr. Sarang, isn't it true that
21   you attached additional documents the
22   second time that you asked Plaintiff
23   Rahul Manchanda to DocuSign without
24   letting him read the second DocuSign
25   agreement; isn't that true?




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 1                           M. SARANG
 2           A.        Without letting him read?      In
 3   the event that he didn't read it, that's
 4   completely on him.
 5           Q.        The one containing the one
 6   sixty-one thousand dollar loan amount
 7   that the Plaintiff was questioning to you
 8   throughout the entire phone conversation?
 9           A.        Well, in the event that you
10   were questioning it and you still
11   voluntarily signed it, that's completely
12   going to be on you, you know.           So, I
13   don't recall what document that you're
14   speaking in reference to.           This is simple
15   standard protocol.        Every customer is
16   treated the same.        We don't veer off and
17   treat any other individuals differently.
18   Every single customer is treated the
19   same.        In the event that you're in
20   default, you either have the ability to
21   rehabilitate your loans, make the nine of
22   ten on time monthly payments, that's what
23   we're trying, that's ultimately what we
24   were trying to advise you.           So, you know,
25   like I said, you can't tell me about one




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 1                          M. SARANG
 2   specific recording that happened four
 3   years ago and expect me to remember all
 4   the details in reference to this
 5   recording.     I talk to thousands and
 6   thousands of people.
 7           Q.     I would suggest that you get a
 8   hold of that recording.
 9                  MR. BAUM:     Next question.
10           Q.     Mr. Sarang, did you make an
11   error or mistake thus necessitating two
12   separate DocuSign contacts, and if so,
13   what exactly was the specific error or
14   mistake?
15           A.     I don't recall.
16           Q.     Mr. Sarang, have you ever been
17   sued before?
18           A.     No.
19           Q.     Mr. Sarang, have you ever been
20   arrested before?
21           A.     Yes.
22           Q.     If yes, then what for and
23   when?
24           A.     I don't feel comfortable
25   providing you with that information.




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 1                            M. SARANG
 2           Q.        You have to answer the
 3   question, it's under oath.
 4                     MR. BAUM:   I'm going to
 5           object.     If you want to ask him about
 6           a conviction, which arguably, could
 7           be relevant.
 8                     MR. MANCHANDA:     No, that was
 9           not my question.
10                     MR. BAUM:   Okay, well.
11           Q.        You have to answer the
12   question, Mr. Sarang, under oath.
13           A.        In the event that I was
14   arrested, yeah, I was arrested, I got a
15   DUI.     There.
16           Q.        So I'll ask you the question
17   again.
18                     Have you ever been arrested
19   before, Mr. Sarang?
20           A.        Yes.
21                     MR. BAUM:   He just answered
22           it.
23           Q.        If yes, then what for and
24   when?
25                     MR. BAUM:   He just answered




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 1                             M. SARANG
 2           it.
 3           A.        Okay.    So, it's a DUI --
 4           Q.        When, when, you didn't answer.
 5           A.        I'm trying to answer but when
 6   you're continuously talking while I'm
 7   talking, it's really hard to do so,
 8   Rahul.        So I'm going to answer.     Is that
 9   okay?        Can I speak now?    I was arrested
10   on the 1st, New Years.
11           Q.        Of?
12           A.        Nine years ago.
13           Q.        And that was your only arrest?
14           A.        Correct.
15           Q.        For drinking, driving while
16   under the influence?
17           A.        Correct.
18           Q.        Of alcohol or drugs?
19           A.        It was alcohol.
20           Q.        Alcohol.
21                     Were you convicted?
22           A.        Yes.
23           Q.        You were convicted?
24           A.        Correct.
25           Q.        What was the result of the




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 1                          M. SARANG
 2   conviction?
 3         A.       I had to do a, go to DUI
 4   school and go through -- what is it
 5   called?    The breathalyzer in your
 6   vehicle.    I had a breathalyzer in my
 7   vehicle and I had to go through an
 8   eighteen month program.
 9         Q.       Mr. Sarang, do you still have
10   a problem with alcohol?
11         A.       Not at all.
12         Q.       Did you have a problem with
13   alcohol while you were working ECMC?
14         A.       Not at all.      That's was nine
15   years ago --
16         Q.       Were you ever drinking on a
17   call --
18         A.       Say it again.
19         Q.       Were you ever drinking on the
20   hob while you were at ECMC?
21         A.       Never, never.
22         Q.       Did you ever have to go any
23   rehabilitation for any alcoholism?
24                  MR. BAUM:     Alcoholism or for
25         the DUI?




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 1                          M. SARANG
 2                  THE WITNESS:      You're breaking
 3         up.
 4         Q.       Did you ever have to go to any
 5   kind, I'll rephrase the question.
 6                  MR. MANCHANDA:      Can you hear
 7         me?
 8                  THE WITNESS:      You're frozen,
 9         you guys are all frozen.
10                  MR. MANCHANDA:      We can hear
11         you and see you fine.
12                  THE WITNESS:      Are you guys
13         there?
14                  MR. BAUM:     Can you see us?
15                  THE WITNESS:      I can see you
16         but it's frozen for some reason.
17         A.       Ask the question again.
18         Q.       Mr. Sarang, did you ever drink
19   while employed by ECMC?
20                  THE WITNESS:      Hello?
21                  MR. BAUM:     He already answered
22         that, by the way.
23                  MR. MANCHANDA:      He didn't.
24                  MR. BAUM:     Yes, he did, he
25         said he did not.




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 1                          M. SARANG
 2                  THE WITNESS:      Hello?
 3                  MR. MANCHANDA:      He did not,
 4         okay.
 5                  MR. BAUM:     Does the court
 6         reporter have that answer?            Just
 7         confirm.     He answered that.
 8                  MR. MANCHANDA:      Olga, did you
 9         hear that answer?
10                  MS. TRETIAKOVA:       Yes.
11         Q.       Next question, Mr. Sarang,
12   when was the last time you had a drink of
13   alcohol?
14                  MR. BAUM:     Objection.
15         Q.       Mr. Sarang, do you think that
16   you have an alcohol problem?
17                  MR. BAUM:     I'm objecting and
18         direct him not to answer.
19         Q.       Mr. Sarang, do you have an
20   alcohol problem in your opinion?
21                  (No verbal response was given
22   by the witness.)
23                  MR. BAUM:     Can you hear us?       I
24         don't know if he can hear.
25                  MR. MANCHANDA:      Mr. Sarang,




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 1                          M. SARANG
 2         can you hear us?
 3                   (Whereupon, a brief recess was
 4         taken due to technical difficulties.)
 5   CONTINUED EXAMINATION BY
 6   MR. MANCHANDA:
 7                   MR. MANCHANDA:     Hi, Mr.
 8         Sarang.
 9                   THE WITNESS:     All right, I
10         don't know what happened but here we
11         are again.
12                   MR. MANCHANDA:     Can you hear
13         us okay?
14                   THE WITNESS:     Yes, I can hear
15         you okay.     Please ask the question
16         again.
17                   MR. MANCHANDA:     Okay, sir.
18         Q.        As I was asking before, Mr.
19   Sarang, in your opinion, do you have an
20   alcohol problem?
21                   MR. BAUM:    I'm going to
22         object.     That's a harassing question.
23         A.        Yeah, you're continuously
24   harassing me and I told that happened
25   nine years ago.      And in any way, shape or




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 1                          M. SARANG
 2   form, I never drank at ECMC in any way,
 3   shape or form.      So please try to find
 4   another reason --
 5         Q.        You were arrested and
 6   convicted of an alcohol related crime.
 7   It's a reasonable question to ask you --
 8                   MR. BAUM:    No --
 9         A.        It's not at all.
10                   MR. BAUM:    -- I'm going to
11         object.
12         Q.        Because that could affect your
13   job performance and your memory.
14                   MR. BAUM:    He said he never
15         drank at ECMC and anything beyond
16         that about any alcoholism is way
17         beyond the scope of this case.
18                   THE WITNESS:     Exactly.
19                   MR. MANCHANDA:       If ECMC was
20         aware of that, they shouldn't be
21         putting him in front of borrowers.
22                   MR. BAUM:    Next question.
23                   MR. MANCHANDA:       That's
24         respondent superior, that's 101.
25                   MR. BAUM:    You can make your




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 1                          M. SARANG
 2         argument, there's no jury here.           So,
 3         next question.
 4                  MR. MANCHANDA:      You're asking
 5         me why it's relevant and I'm telling
 6         you why.
 7                  THE WITNESS:      You guys are
 8         really wasting my time right now --
 9                  MR. BAUM:     I'm directing the
10         witness --
11                  MR. MANCHANDA:      Next question,
12         next question, next question.
13         Q.       Mr. Sarang, have you ever been
14   disciplined at an academic or educational
15   institution that you attended?
16         A.       No.
17         Q.       You've never been disciplined
18   at an academic or institution?
19         A.       I don't know why you ask a
20   question, I give you an answer and then
21   you literally say the same question like
22   you're --
23         Q.       Because I thought you didn't
24   hear me --
25         A.       -- like I'm lying.




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 1                          M. SARANG
 2         Q.       I want to make sure you heard
 3   the question.
 4         A.       Well, I did and I answered it.
 5         Q.       I'm actually helping you by
 6   repeating it sometimes, I think.
 7         A.       I don't think so.
 8                  MR. BAUM:     There's no
 9         question.     Just let him ask the next
10         one.
11         Q.       Mr. Sarang, what kind of work
12   do you do now?
13         A.       I am in the solar industry.          I
14   work for a company that sells solar --
15         Q.       You're in the solar industry?
16         A.       Correct.
17         Q.       Is there an incentive plan or
18   bonus commission plan for sales there?
19         A.       I don't understand why that
20   would be relevant of what's transpiring
21   now about something that happened four
22   years ago.
23         Q.       It's not your duty to think
24   about that.     That question is simple.
25                  If you're working, is there an




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 1                          M. SARANG
 2   incentive plan or bonus commission plan
 3   for sales there?
 4           A.     Yes.
 5           Q.     Are you in that bonus
 6   commission plan?
 7           A.     Yes.
 8           Q.     And how long have you been
 9   employed by that new solar company?
10           A.     Five months.
11           Q.     What is the name of that solar
12   company?
13           A.     Solar Energy Collective.
14           Q.     And where are they located?
15           A.     Stockton.
16           Q.     So you're in sales?
17           A.     Correct.
18           Q.     And there is a bonus
19   commission plans for sales?
20           A.     Correct.
21           Q.     Where did you work before
22   that?
23           A.     ECMC.
24           Q.     So you went to work for ECMC,
25   you went directly to Solar, I'm sorry,




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 1                          M. SARANG
 2   what was the name of that company?
 3         A.       Solar Energy Collective.
 4         Q.       Solar Energy Collective.
 5                  Oh, and you said you've been
 6   there for four months?
 7         A.       Five months.
 8         Q.       When did you leave ECMC's
 9   employment?
10         A.       Two years ago.
11         Q.       So what were you doing in the
12   meantime between two years and four
13   months ago?
14         A.       Nothing.     It was coronavirus
15   and staying at home.
16         Q.       So you were unemployed during
17   that time period?
18         A.       Correct.
19         Q.       How did you support yourself
20   during that time period?
21         A.       Unemployment.
22         Q.       Unemployment for a year?
23         A.       Correct.
24         Q.       Again, did you quit ECMC or
25   did they fire you?




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 1                          M. SARANG
 2                  MR. BAUM:     Asked and answered.
 3          A.      Laid off, asked and answered
 4   once again.
 5          Q.      Laid off?
 6          A.      Correct.
 7          Q.      Laid off.
 8                  Were you given any severance
 9   package form ECMC?
10          A.      Yes, the entire office was
11   laid off, every single employee was given
12   a severance package, and then we were
13   shut down all together.         They relocated
14   the company to Minnesota.          There is no
15   more California office.
16          Q.      What year was that?
17          A.      Two years ago.
18          Q.      So you would say 2019?
19          A.      Yeah, 2019 or maybe 2018.         I
20   don't know, it was two or three years
21   ago.    It could've been the end of 2018 or
22   the beginning of 2019.
23          Q.      Mr. Sarang, did you hear about
24   any kind of lawsuits being filed against
25   ECMC by the CFPB customer, Consumer




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 1                          M. SARANG
 2   Financial Protection Bureau?
 3         A.       No.
 4         Q.       Did you hear about anything
 5   about ECMC getting sued by any attorney
 6   general --
 7         A.       No.
 8         Q.       -- Pennsylvania?
 9         A.       No.
10         Q.       Did you hear about anything
11   negative in the press regarding --
12         A.       No.
13         Q.       -- ECMC around that time --
14         A.       No.
15         Q.       -- 2019?
16         A.       No.
17         Q.       So you're saying you left in
18   2019, ECMC laid off in mass everybody
19   from your unit and the collections
20   department for rehabilitation contracts;
21   is that right?
22         A.       Not just everybody in our
23   unit, everybody in the entire building.
24   So probably about two to three hundred
25   employees.




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 1                           M. SARANG
 2         Q.       And their reasoning was what?
 3         A.       I don't know what their
 4   reasoning is.
 5         Q.       To get rid of what, witnesses?
 6                  MR. BAUM:     Objection.     Don't
 7         answer that.       He answered your
 8         question already.       Move on to the
 9         next one.
10         Q.       Mr. Sarang, who at ECMC
11   assigned you to Plaintiff Rahul
12   Manchanda's account?
13         A.       Norman Miranda.
14         Q.       Sorry?
15         A.       My supervisor would be the one
16   to distribute accounts.         So to answer
17   your question, his name is Norman
18   Miranda.
19         Q.       Norman Randall?
20         A.       Miranda.
21         Q.       Norman Miranda.
22                  What were some of the factors
23   that he would take into account in
24   distributing accounts?
25         A.       I don't know, I'm not him.




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 1                          M. SARANG
 2         Q.       Did he choose it based on
 3   race, ethnicity, skin color, cultural
 4   similarities, language, what were some of
 5   the criteria used to assign borrowers to
 6   certain collectors and rehabilitators?
 7         A.       All the accounts were evenly
 8   distributed to all the account
 9   representatives.       So in any way, shape or
10   form, they were not discriminatory in any
11   way, shape or form.
12         Q.       But there was a bonus
13   commission basis, right, the tier level?
14         A.       Correct, to every employee
15   that was our there.
16         Q.       So some of them were better
17   than others?
18         A.       Well, in the event that you
19   outperform another collector, then yeah,
20   you're going to be better than others in
21   the even that you outperform them.            It's
22   based on performance.
23         Q.       Did you know of any other ECMC
24   employees that were disciplined by ECMC?
25         A.       Do I know of any other ECMC




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 1                          M. SARANG
 2   employees that's were disciplined by
 3   ECMC?
 4           Q.     Correct.
 5                  MR. BAUM:     During his time
 6           that he worked there?
 7                  MR. MANCHANDA:      It's an
 8           open-ended question.
 9                  MR. BAUM:     No, you need to be
10           more specific.     It's not open-ended.
11                  MR. MANCHANDA:      Fine.
12           Q.     Both while you were working
13   there and when you were not working
14   there.
15           A.     When you say disciplined, like
16   are you talking about in the event that
17   someone is tardy and they have to be
18   written up, then yeah.
19           Q.     Discipline, so you are aware
20   of ECMC employees being disciplined while
21   you were employed by ECMC?
22           A.     Yeah, in the event that
23   someone is tardy and they need to be
24   written up, then yes, they were
25   disciplined.




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 1                           M. SARANG
 2         Q.       Tardy or party?
 3         A.       Tardy.
 4         Q.       Lateness, okay.
 5                  So the only thing you know
 6   about was tardiness, nothing else?
 7         A.       Correct.
 8         Q.       So nobody was ever disciplined
 9   for unethical conduct, or immoral conduct
10   or illegal conduct?
11         A.       Nope.
12         Q.       Do you know of anybody that
13   was arrested at ECMC?
14         A.       Nope.
15         Q.       No fellow employees --
16         A.       No.
17         Q.       -- were arrested.
18                  Did you ever hear about
19   anybody past or present at ECMC being
20   arrested?
21         A.       No.
22         Q.       Or charged with a crime?
23         A.       No.
24         Q.       But you did hear about people
25   being disciplined, okay.




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 1                          M. SARANG
 2                  Can you give me the names of
 3   some of the individuals who were
 4   disciplined?
 5         A.       No, I can't.
 6         Q.       Why, based on confidentiality
 7   or you don't know?
 8         A.       I don't know their name, I
 9   don't know their name like that.
10         Q.       How many would you estimate,
11   how many employees would you estimate
12   were disciplined, to your knowledge, that
13   you know of?
14         A.       I can't, you're saying to
15   estimate, I don't know, one or two.
16         Q.       In your group?
17         A.       In my group, correct.
18         Q.       Mr. Sarang, are you aware of
19   which department would update addresses
20   in the ECMC database?
21         A.       I'm not.
22         Q.       But you said you were able to
23   update addresses yourself --
24         A.       Correct.
25         Q.       -- upon verification, correct?




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 1                          M. SARANG
 2         A.       Correct, but I don't know who
 3   originally populates that information
 4   before it comes to my screen.
 5         Q.       So you have the clearance
 6   level to alter, change or update
 7   addresses, correct?
 8         A.       Correct.
 9         Q.       And in April of 2017, you do
10   not recall, as you said, why you asked me
11   about my address, e-mail or telephone
12   information?
13         A.       Correct, I don't recall.
14         Q.       And you also do not recall why
15   you DocuSign the document two times?
16                  MR. BAUM:     Asked and answered.
17         Same objection.
18                  MR. MANCHANDA:      Okay.
19         Q.       Mr. Sarang, what information
20   training were you provided before being
21   assigned specifically Plaintiff Rahul
22   Manchanda's account?
23         A.       What training?      I told you --
24         Q.       What information/training were
25   you provided before being assigned




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 1                           M. SARANG
 2   specifically to Plaintiff Rahul
 3   Manchanda's account?
 4           A.        There is a trainer, a specific
 5   trainer that trains individuals before
 6   they're allowed to be on the phone.
 7   There are exams, just like I originally
 8   mentioned, and you go through training
 9   courses, so you watch videos, you answer
10   quizzes, and you have the trainee
11   actually train you on the information.
12           Q.        So before each phone call, you
13   are giving sort of a training seminar for
14   each different borrower?
15           A.        No, not before each phone
16   call.        Before you're allowed to start
17   working and start talking to customers,
18   before you're even allowed to be on the
19   phone and on the floor, you have to go
20   through training.        You have to watch
21   these videos and you have to pass these
22   exams to make sure that you're going to
23   be able to speak with the customers under
24   compliance.
25           Q.        So like I said, like you said,




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 1                          M. SARANG
 2   you spoke to about twelve to fifteen
 3   borrowers per day?
 4           A.     Correct.
 5           Q.     And you were never taken aside
 6   before these calls and given specific
 7   information that may differ from each
 8   borrower or you just treated them all the
 9   same?
10           A.     All the same.
11           Q.     So you were never tipped off
12   and said, hey, this guy might have this
13   problem, this guy, we might have this
14   problem, this guy, may be he didn't get
15   the default, that kind of, you understand
16   what I'm saying.
17                  You were literally thrown in
18   to twelve to fifteen calls with no pep
19   talk or no information before --
20           A.     No, I don't think you're
21   comprehending or registering what I'm
22   advising you --
23           Q.     Well, I'm asking you.
24           A.     I was thrown in, I wasn't
25   thrown in.     Before you're able to be, and




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 1                          M. SARANG
 2   I'm going to slow this down for you
 3   because it seems like you need me to talk
 4   really slowly.      So, in event before
 5   you're able to be on the phone and before
 6   you're able to start talking to
 7   customers, you have to go through
 8   training.     You have to pass these exams.
 9   You have to know what you're doing before
10   you get on the floor and you cause, you
11   know, and misrepresent people in ways
12   that you're not supposed to be
13   misrepresenting them.        So I was trained,
14   I passed the exams.       After I did so,
15   that's when I was able to be on the phone
16   and actually start receiving accounts to
17   work for myself.
18         Q.       Mr. Sarang, how much did you
19   make off Plaintiff Rahul Manchanda's
20   account as a commission bonus?
21         A.       It could've been nothing, I
22   could've not even commissioned that
23   month.     There was months that I
24   commissioned and there were months that
25   we didn't commission.        So, you wouldn't




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 1                          M. SARANG
 2   be paid off of one specific account
 3   anyways, regardless.
 4         Q.       How much would you state your
 5   average commission or bonus per week or
 6   per month was at ECMC?
 7         A.       Average commission per month,
 8   between -- two thousand to four thousand.
 9         Q.       And that you said is in
10   addition to monthly salary of three to
11   four thousand you said earlier?
12         A.       Yeah, correct.
13         Q.       And your salary you said never
14   changed in your four years of employment?
15         A.       Correct.
16         Q.       And neither did your job title
17   change?
18         A.       Correct.
19                  MR. BAUM:     Asked and answered.
20         Q.       So, you're saying
21   approximately seven to eight thousand per
22   month, you would walk away with?
23         A.       It depends on the month.
24   There could've been months where I didn't
25   commission.     There could've been months




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 1                          M. SARANG
 2   where I didn't walk away with a
 3   commission check because I didn't get to
 4   my goal because I didn't perform that
 5   month --
 6         Q.        ECMC obviously dangled, you
 7   know, commissions and bonuses in order to
 8   get you to get people to sign up for your
 9   contracts, rehabilitation contracts?
10         A.        Say that again.
11                   (Continued on the following
12         page to include signature line and
13         jurat.)
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 1                         M. SARANG
 2                 MR. BAUM:     He's already
 3         answered the question.
 4                 MR. MANCHANDA:       Okay.
 5                 MR. BAUM:     There's no
 6         question.
 7                 MR. MANCHANDA:       Withdrawn.
 8         All right.     I have no further
 9         question, Mr. Sarang.        Thank you for
10         your time today.
11                 MR. BAUM:     Thank you, Mithun.
12                 MS. TRETIAKOVA:       So the
13         deposition is complete for today.
14         Thank you.
15                 (Whereupon, the proceedings
16         were concluded at 4:45 p.m.)
17
18                          _________________________
                               MITHUN SARANG
19
20   Subscribed and sworn to before me this
21   ________ day of __________, 2021.
22
23   _______________________
            NOTARY PUBLIC
24
25




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 1                   C E R T I F I C A T E
 2
 3
 4             I, Kathleen Brosnan, an independent
 5   typist within and for the State of New York,
 6   do hereby certify that I listened to the audio
 7   recording that is the source of the foregoing
 8   transcription and, to the best of my ability,
 9   this is an accurate transcription of the
10   proceedings contained therein.
11
12             I further certify that I am not
13   related to any of the parties to this
14   proceeding by blood or marriage; and that I am
15   in no way interested in the outcome of this
16   matter.
17
18             IN WITNESS WHEREOF, I have authorized
19   Deitz Court Reporting to set my hand hereunto
20   this 24th day of March, 2021.
21
22
23                          __________________________
                                KATHLEEN BROSNAN
24
25




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